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                                                                               January 21, 2024


   VIA ECF

   The Honorable Lewis A. Kaplan
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

                          Re:     Carroll v. Trump, 20 Civ. 7311 (LAK)

   Dear Judge Kaplan:

          On January 18, 2024, Your Honor requested briefing on the following question: “If
   someone’s reputation in part of a community is injured, is the plaintiff or the injured party entitled
   to recover damages for that injury even if the reputation of the party in another part of the
   community is benefited.” As explained below, the answer to that question is “yes.”

          In this letter, we also address a second and related issue concerning Mr. Trump’s repeated
   arguments (as advanced in opening statements and evident in cross-examination) that by revealing
   his sexual assault, Ms. Carroll somehow assumed the risk of being defamed, consented to such
   defamation, or afforded him a right of “self-defense” in his responses to her truthful revelation.

                                     *       *       *       *         *

          We first address the question posed by Your Honor. In short, where a defamatory statement
   harms the plaintiff’s reputation within a substantial part of a community, the plaintiff is entitled to
   damages based on her actual injuries (including reputational injuries), and New York law does not
   impose any offset based on alleged reputational benefits to the plaintiff within other parts of the
   community. We respectfully request that the jury be instructed on that point of law.

           This legal rule is supported by two considerations. First, a defamation victim can sustain a
   claim even if the defamatory statement at issue did not subject her to universal (or even majority)
   public disrepute. To qualify as defamatory, a communication “need not tend to prejudice the other
   in the eyes of everyone in the community or of all of his associates, nor even in the eyes of a
   majority of them.” Restatement (Second) of Torts § 559 (1977). “It is enough that the
   communication would tend to prejudice him in the eyes of a substantial and respectable minority
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    of them, and that it is made to one or more of them or in a manner that makes it proper to assume
    that it will reach them.” Id. Thus, a statement can be defamatory even if it confers both benefits
    and harms on a plaintiff’s reputation. See, e.g., Armstrong v. Shirvell, 596 F. App’x 433, 448 (6th
    Cir. 2015) (applying Michigan law and rejecting the argument that a defamation claim failed on
    the merits because the statements at issue “did not damage [the plaintiff’s] reputation but enhanced
    it” and caused the plaintiff to receive “support … from the University and elsewhere”). Consistent
    with that understanding, courts in several recent cases have upheld defamation liability where the
    defendants made highly offensive statements about the plaintiffs, and where those statements were
    well known to have sparked substantial sympathy for the plaintiffs among parts of the public. See,
    e.g., Freeman v. Giuliani, No. 21 Civ. 3354 (D.D.C. Dec. 18, 2021), ECF 142; Lafferty v. Jones,
    2022 WL 18110184, at *2, *9-10 (Conn. Super. Ct. Nov. 10, 2022). Notably, in none of these
    cases did courts suggest that any potential reputational benefits to the plaintiffs within parts of the
    public were relevant to the issue of damages. E.g., Freeman, ECF 137 (final jury instructions that
    do not include any reference to such a concept in describing the law of defamation damages).
    Indeed, this makes sense: many statements that could rank as defamatory would tend to make a
    plaintiff better known in a community, or to induce sympathy or support from at least some
    members of the community, yet there is no body of law offsetting damages on that basis. 1

            Second, and relatedly, New York State has not adopted the so-called “benefits rule” in the
    context of intentional torts—and, even if it had, that rule by its terms would not apply. The classic
    statement of the benefits rule is as follows: “When the defendant’s tortious conduct has caused
    harm to the plaintiff or to his property and in so doing has conferred a special benefit to the interest
    of the plaintiff that was harmed, the value of the benefit conferred is considered in mitigation of
    damages, to the extent that this is equitable.” Restatement (Second) of Torts § 920 (1979); see also
    Carroll v. LeBoeuf, Lamb, Green & MacRae, L.L.P., 392 F. Supp. 2d 621, 629 (S.D.N.Y. 2005)
    (Kaplan, J.) (applying this rule under New Jersey law in an accounting malpractice action). So far
    as we can tell from a diligent search, this rule has been applied by New York courts mainly (if not
    solely) in the context of medical malpractice cases concerning so-called “wrongful birth” claims.
    See Becker v. Schwartz, 46 N.Y.2d 401, 415 (1978). Courts have declined to apply the rule in other
    settings, particularly where intentional torts are involved. See, e.g., Bingham v. Zolt, 823 F. Supp.
    1126, 1134 (S.D.N.Y. 1993) (rejecting offset for enhancement in value of diverted assets “because
    defendants were found liable as intentional tortfeasors” and “should not be able to reap the benefit
    of any enhancement”); see also Scott v. Brooklyn Hosp., 480 N.Y.S.2d 270, 274 (N.Y. Sup. Ct.
    1984) (declining to apply rule in medical malpractice action). We have not discovered any New
    York case in which a court applied the benefits rule to actual malice defamation.



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      In Grant v. Readers Digest Association, Inc., 151 F.2d 733 (2d. Cir. 1945), Judge Hand held under New York law
    that a statement accusing a lawyer of being an agent of the Communist Party qualifies as defamatory. Id. at 734. In so
    holding, he recognized that juries might consider “in mitigation of damages” the “moral obliquity of the opinions of
    those in whose minds the words might lessen [a] reputation.” Id. Put differently, he recognized that in deciding
    damages, the jury can consider whether the community in which reputational harm occurs is one that does not
    “embrace prevailing moral standards.” Id. But there is a categorical difference between (on the one hand) assessing
    where reputational harm occurs and (on the other hand) negating reputational harm on a theory of offsetting benefits
    in different parts of the community. Thus, Judge Hand did not suggest that a jury could consider potential benefits to
    a plaintiff’s reputation from being called an agent of the Communist Party (e.g., admiration of domestic Communists).
    The absence of any such suggestion is consistent with the view that such benefits are irrelevant as a matter of law.
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             Once again, that makes sense. By its terms, the benefits rule applies only “to the extent that
    this is equitable.” Restatement (Second) of Torts § 920. Specifically, “this principle is intended
    primarily to restrict the injured person’s recovery to the harm that he actually incurred and not to
    permit the tortfeasor to force a benefit on him against his will.” Id. at cmt. f. And in applying that
    principle, “the good faith” and “reasonableness of the attitudes” of the parties are crucial. Id.; see
    also id. (“[U]nless the plaintiff is capricious or spiteful and the defendant has acted by mistake, so
    that his conduct was not knowingly tortious … the damages may not be diminished by the fact that
    the defendant’s interference has increased the monetary value of the property.” (emphasis added)).

            Here, Mr. Trump has been held liable for defamation under the actual malice standard. It
    would thus be profoundly inequitable to allow him (through his defamatory attacks) to “force a
    benefit on [Ms. Carroll] against [her] will.” See id. Given the utter absence of good faith and
    reasonableness in Mr. Trump’s conduct—and given that his conduct was malicious and intentional
    rather than negligent or mistaken—Mr. Trump cannot equitably avail himself of the benefits rule,
    event to the extent that rule applies under New York law in this setting (which it does not).

            It would be perverse to hold otherwise. The question here is not whether Ms. Carroll may
    have incurred a reputational benefit from coming forward to reveal the truth that Mr. Trump
    sexually assaulted her. It is whether Mr. Trump’s own defamatory statements resulted in some sort
    of reputational benefit to Ms. Carroll—and, if so, whether he can offset damages on that basis. The
    answer to that question is clear. As a matter of precedent and equity, the law does not authorize
    Mr. Trump to defame Ms. Carroll but then minimize the ensuing damages because he involuntarily
    inflicted a “benefit” on her in the form of support from parts of the community who find his
    statements abhorrent (or who are otherwise predisposed to disbelieve his attacks). Ms. Carroll
    never asked for any “benefit” that Mr. Trump may think that he has forced upon her through his
    defamatory attacks. If anything, it is offensive for him to persist in his assertions that she should
    be grateful to him for defaming her. And it is equally absurd to claim that her damages are less
    substantial just because his unlawful, unwanted, and unwelcome attacks on her reputation
    provoked sympathy in some parts of the public or drew more attention to Ms. Carroll. If Ms.
    Carroll suffered harm to her reputation—which she plainly did—then she deserves to be fully
    compensated for that injury. If she somehow benefited in any respect from the President of the
    United States falsely calling her a liar and a fraud (and threatening and insulting her), the law of
    New York does not reward Mr. Trump for that collateral result of his own tortious malfeasance.

            Because Mr. Trump’s opening argument and cross-examinations plainly indicated to the
    jury that Ms. Carroll’s damages should be reduced by the amount of any reputational benefit she
    received from his defamatory statements, and because that contention rests on a mistaken legal
    premise, Ms. Carroll respectfully requests that the Court’s jury instructions address this issue. For
    example, the Court might include the following language in its instructions on defamation
    damages: “Under the law, the injury (if any) that Mr. Trump caused to Ms. Carroll’s reputation by
    his defamatory statements is not mitigated by any benefit to her reputation that Mr. Trump may
    claim that his defamatory statements caused in some parts of the community. You are not to
    consider any such reputational benefits (if any) in deciding on a damages award in this case.” In
    addition, Ms. Carroll would also request that the Court issue an order precluding the defense from
    making any argument to the jury in summation that is inconsistent with this legal rule.

                                      *       *       *       *       *
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            Ms. Carroll also wishes to raise a second, related issue. Throughout the trial, Mr. Trump’s
    lawyers have repeatedly impugned Ms. Carroll’s motives for revealing that he sexually assaulted
    her—and they have then suggested that Mr. Trump was “merely defending himself” when he
    defamed her. Tr. 52:21; see also id. at 56:16-17 (arguing that “before she came out with her
    allegation against Donald Trump,” Ms. Carroll’s “career was dwindling and it needed a spark”);
    id. at 54:21-22 (arguing that Ms. Carroll waited “for the opportune time” to expose Mr. Trump’s
    misconduct because that “was the business she was in”); id. at 55:2-15 (arguing that Ms. Carroll
    revealed Mr. Trump’s sexual assault in order to gain attention and make money).

           The unmistakable upshot of these arguments is that Ms. Carroll’s motives for revealing
    that Mr. Trump assaulted her are suspect; that Ms. Carroll somehow assumed the risk or consented
    to Mr. Trump’s June 2019 defamatory attacks by revealing that he had sexually assaulted her; and
    that Mr. Trump’s defamation was somehow justified as a form of public self-defense.

             On the first point, Mr. Trump’s position is directly at odds with one of Your Honor’s pre-
    trial orders. In pre-trial briefing, the defense sought leave to introduce evidence of Ms. Carroll’s
    “financial motivation” and “efforts to promote her claims,” arguing that this evidence was relevant
    to the harm that Ms. Carroll suffered; the defense also sought to introduce evidence that “Plaintiff’s
    conduct was politically-charged” as relevant to reputational harm. ECF 235 at 6. The Court largely
    rejected these contentions: “Such evidence, however, falls squarely within the Court’s prior
    decisions, as it tends to suggest that Ms. Carroll had impure and non-truthful motives in raising
    her allegations against Mr. Trump. Moreover, Ms. Carroll’s personal motivations for speaking up
    are not probative of the harms that she actually suffered from Mr. Trump’s defamation, shedding
    no light on her mental and emotional state and reputational damage after Mr. Trump issued his
    2019 statements. Indeed, regardless of the reasons why Ms. Carroll chose to come forward, she
    did not implicitly consent to whatever defamation Mr. Trump might subsequently commit.” ECF
    252 at 14 (emphasis in original). Although the Court’s pre-trial ruling did not entirely forbid
    evidence or argument about Ms. Carroll’s statements, the Court imposed important limits: “Mr.
    Trump is not precluded from introducing evidence of Ms. Carroll’s public statements for the
    purpose of arguing that she contributed to the reputational and emotional harm that she claims, but
    he may not use such statements or related argument to suggest that she fabricated her account or
    to inquire about her motives in making such statements.” Id. at 14 n.41 (emphasis added).

            Mr. Trump’s lawyers have run roughshod over these limits. In addition to her comments
    during opening statements, Ms. Habba has repeatedly sought to elicit testimony and advance
    arguments meant to suggest that Ms. Carroll had financial, political, or fame-seeking motives for
    revealing that Mr. Trump sexually assaulted her. See also, e.g., Tr. at 208:20 (seeking to elicit
    testimony that Ms. Carroll’s salary had been cut the year before she decided to come forward);
    216:5-6 (seeking to elicit testimony about financial compensation in connection with her book).

            Evidence and argument about Ms. Carroll’s financial circumstances and political views
    when she revealed that Mr. Trump sexually assaulted her are not relevant to the reputational harm
    or the emotional suffering she experienced from his defamatory statements. See Fed. R. Evid. 401.
    And even if it had some slight probative value in this respect, that value is substantially outweighed
    by the risk of prejudice and confusion concerning the truthfulness of her revelation that Mr. Trump
    had assaulted her (a fact that has already been found through collateral estoppel). See Fed. R. Evid.
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    403. Simply put, while the Court authorized Mr. Trump to offer evidence and argument concerning
    Ms. Carroll’s public statements, it drew a sensible line around attacks on her motives for revealing
    the underlying sexual assault, and Mr. Trump’s lawyers have utterly failed to honor that limitation.

             This is particularly concerning because Mr. Trump is unabashedly arguing to the jury—by
    virtue of his attacks on Ms. Carroll’s motives for speaking up, and through direct argumentation
    that his counsel advanced in opening statements—that Ms. Carroll assumed the risk of being
    defamed, consented to (or even hoped for) such defamation, and/or has justified Mr. Trump’s
    conduct as self-defense. Every single such claim is forbidden as a matter of law. The assumption
    of risk doctrine does not apply to defamation (or more generally in the context of intentional torts).
    See, e.g., Custodi v. Town of Amherst, 20 N.Y.3d 83, 87 (2012); see also Fraenkel v. Islamic
    Republic of Iran, 892 F.3d 348, 359 (D.C. Cir. 2018); Janelsins v. Button, 102 Md. App. 30, 41
    (1994). With respect to consent—in other words, the theory that Ms. Carroll essentially invited or
    agreed to defamation—this Court has already rejected Mr. Trump’s position, holding that when “a
    survivor of sexual assault makes the choice to speak up, that choice does not constitute consent to
    whatever defamatory lies their abuser may unleash in response.” Carroll v. Trump, No. 20 Civ.
    7311, 2023 WL 4393067, at *18 (S.D.N.Y. July 5, 2023), aff’d, 88 F.4th 418 (2d Cir. 2023). And
    as to Mr. Trump’s claim that his defamatory statements were somehow a form of self-defense,
    whether he intends that in a political or personal sense, it is meaningless as a legal matter: when a
    person commits sexual assault and their victim reveals what they did, the law confers no right of
    self-defense to make defamatory statements aimed at crushing or humiliating the accuser. Giuffre
    v. Dershowitz, 410 F. Supp. 3d 564, 576 (S.D.N.Y. 2019) (explaining under New York law that a
    finding of constitutional actual malice defeats any self-defense privilege in defamation cases). 2

             In consequence of Mr. Trump’s improper argumentation and violation of the Court’s pre-
    trial orders, Ms. Carroll respectfully requests that the Court issue the attached curative instruction
    to the jury prior to deliberations, and that the Court issue an order precluding the defense from
    making any argument to the jury in summation that is inconsistent with this instruction.


                                                                                    Respectfully submitted,



                                                                                    Joshua Matz

    cc:     Counsel of Record




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      Moreover, under federal pleading standards, assumption of risk, consent, and self-defense would all be affirmative
    defenses to liability, and have either been waived, rejected, or otherwise precluded by virtue of the Court’s prior
    rulings and its summary judgment determination on liability. It is inappropriate for Mr. Trump to seek to repackage
    these meritless affirmative defenses to liability as considerations that somehow vitiate his damages at trial.
